
410 S.E.2d 412 (1991)
James Patrick CARSON, Appellant,
v.
COMMONWEALTH of Virginia, Appellee.
Record No. 0541-89-3.
Court of Appeals of Virginia.
November 12, 1991.
Roger A. Inger, Warrenton, for appellant.
Thomas C. Daniel, Asst. Atty. Gen. (Mary Sue Terry, Atty. Gen., on brief), for appellee.
Before KOONTZ, C.J., and BAKER, BARROW, BENTON, COLEMAN, DUFF, MOON, WILLIS, ELDER and BRAY, JJ., en banc.

UPON A REHEARING EN BANC
On May 14, 1991 a panel of this Court affirmed the conviction of James Patrick Carson, 12 Va.App. 497, 404 S.E.2d 919 (1991). Carson's petition for rehearing en banc was granted and heard on October 22, 1991. For the reasons stated in the panel's opinion, a majority of the Court affirms the judgments of the trial court. Accordingly, the stay of this Court's May 14, 1991 mandate is lifted and its directives reinstated.
Judge BENTON, with whom Chief Judge KOONTZ, Judge DUFF and Judge ELDER join, would reverse the judgment of the trial court for the reasons stated in the dissenting opinion of the original panel decision.
